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                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt           POTTER STEWART U.S. COURTHOUSE              Tel. (513) 564-7000
        Clerk                     CINCINNATI, OHIO 45202-3988            www.ca6.uscourts.gov




                                              Filed: February 04, 2022


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           Case: 22-1010 Document:
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                  Re: Case No. 22-1010, Timothy King v. Gretchen Whitmer, et al
                      Originating Case No. : 2:20-cv-13134

 Dear Counsel,

   The Court issued the enclosed Order today in this case.

                                                Sincerely yours,

                                                s/C. Anthony Milton
                                                Case Manager
                                                Direct Dial No. 513-564-7026

 cc: Ms. Kinikia D. Essix

 Enclosure
           Case: 22-1010 Document:
Case 2:20-cv-13134-LVP-RSW ECF No.18-2   Filed: 02/04/2022
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                                           Case No. 22-1010

                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                               ORDER



 TIMOTHY KING

                Plaintiff

 and

 STEFANIE LYNN JUNTTILA

                Interested Party - Appellant

 v.

 GRETCHEN WHITMER; JOCELYN BENSON; CITY OF DETROIT, MI

                Defendants - Appellees



      Upon consideration of the appellant's motion to reinstate the case and the motion to seal the

 motion to reinstate,

      And it appearing that the defaults which led to dismissal of the appeal have been cured,

      It is ORDERED that the motions be and they hereby are GRANTED.

                                                    ENTERED PURSUANT TO RULE 45(a),
                                                    RULES OF THE SIXTH CIRCUIT
                                                    Deborah S. Hunt, Clerk


 Issued: February 04, 2022
                                                    ___________________________________
